      Case 6:23-cv-00300-ADA         Document 160        Filed 02/07/25     Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 SHANGHAI TENCENT PENGUIN FILM
 CULTURE MEDIA CO., LTD.; SHENZHEN
 TENCENT COMPUTER SYSTEM CO.,
 LTD.; and TENCENT TECHNOLOGY
 (BEIJING) CO., LTD.,

                       Plaintiffs,                   CIVIL NO. 6:23-CV-300-ADA-JCM
 v.

 UNBLOCKTECH TAIWAN CO., LTD., et
 al.,

                       Defendants.



                     ORDER GRANTING PLAINTIFFS’
       MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION

       Before the Court is the motion for default judgment (the “Motion”) filed by Plaintiffs

Shanghai Tencent Penguin Film Culture Media Co., Ltd., Shenzhen Tencent Computer System

Co., Ltd., and Tencent Technology (Beijing) Co., Ltd.’s (collectively, “Plaintiffs”) against

Defendants UnblockTech Taiwan Co., Ltd. (“UnblockTech”), Dali Tongda Technology Limited

(“Dali Tongda”), HK-UB, Hope Overseas Trading Co., Limited (“Hope Overseas”), Unbo Store-

USA (“Unbo Store”), and MT Technology Inc. (“MT Technology”) (collectively, “Defaulting

Defendants”). Plaintiffs seek monetary damages, as set forth below, and entry of a permanent

injunction.

       Having reviewed the facts and the applicable law, the Court has determined that the Motion

should be GRANTED.

       The Court hereby ENTERS the following final judgment:



                                              -1-
      Case 6:23-cv-00300-ADA           Document 160         Filed 02/07/25       Page 2 of 16




   1. Each of the Defaulting Defendants is currently in default, with default entered against each

of them by the Clerk of this Court. See Dkt. No. 116 (default entered against Dali Tongda, HK-

UB, and Unbo Store on Sept. 21, 2023); Dkt. No. 132 (default entered against MT Technology on

Jan. 29, 2024); Dkt. No. 158 (default entered against UnblockTech and Hope Overseas on Oct. 30,

2024).

   2. The Court finds for Plaintiffs against each of the Defaulting Defendants on Plaintiffs’

claims for direct copyright infringement (against Defendant UnblockTech) (claim 1); inducing and

materially contributing to copyright infringement (against all Defaulting Defendants) (claim 2);

and for vicarious copyright infringement (against Defendant UnblockTech) (claim 3).

   3. Defaulting Defendants, including each of their respective officers, directors, managers,

owners, agents, servants, employees, successors, assigns, affiliates, subsidiaries, parents, related

companies, and all other persons acting on their behalf or in concert with them, are permanently

enjoined from any and all unauthorized use of the Tencent Shows listed in Exhibit A attached to

this Order and any Tencent copyrighted works released in the future (collectively, “Tencent

Copyrights”), including but not limited to (a) copying, displaying, publicly performing,

distributing, importing, or creating derivative works of the Tencent Copyrights; (b) importing,

transmitting, or distributing the Tencent Copyrights over the Internet, or by other means, to persons

not authorized by Plaintiffs to receive or view the Tencent Copyrights, including but not limited

to through any UBOX or similar product and/or through the UPTV, UPVod2.0, UP playback 2.0,

UPcinema, HD theater, or similar applications; (c) manufacturing, selling, advertising,

distributing, and/or importing any UBOX products or any product which operates in substantially

the same manner as any UBOX product; and (d) assisting, aiding, or abetting any person in

conducting any of the activities described in parts (a)-(c) of this paragraph.



                                                 -2-
      Case 6:23-cv-00300-ADA            Document 160        Filed 02/07/25     Page 3 of 16




   4. The permanent injunction described above supersedes the Court’s preliminary injunction

entered on June 23, 2023 (Dkt. No. 79), as modified on July 10, 2023 (Dkt. No. 85), which is

hereby dissolved. The Clerk shall remit to Plaintiffs their $50,000 bond posted for the preliminary

injunction.

   5. Plaintiffs shall recover from each Defaulting Defendant statutory damages for

unauthorized use of the works pursuant to 17 U.S.C. § 504(c)(1) in the amount of up to $30,000

for each registered work infringed, and $150,000 for each registered work infringed in accordance

with 17 U.S.C. § 504(c)(2), as follows:

               a. $15,150,000 against UnblockTech and $15,150,000 against Dali Tongda,

                   jointly and severally with HK-UB, Unbo Store, and Hope Overseas ($150,000

                   statutory damages per infringement for 101 works); and

               b. $27,225,000 against UnblockTech and $27,225,000 against Dali Tongda,

                   jointly and severally with HK-UB, Unbo Store, and Hope Overseas, ($30,000

                   per infringement for 250 Award-Winning Shows and $15,000 per infringement

                   for 1,315 remaining Tencent Shows not eligible for statutory damages).

   6. Plaintiffs are granted leave to file a motion for attorneys’ fees and costs associated with

this action within sixty (60) days of the date of this Order.

   7. This Court shall retain jurisdiction for the purpose of enforcing the provisions of this Order.

       This judgment is intended to be final and to resolve all claims and issues in the case. The

Clerk is ORDERED to close the case.




                                                 -3-
Case 6:23-cv-00300-ADA         Document 160   Filed 02/07/25   Page 4 of 16




 Entered February 7th, 2025.




                                           HONORABLE ALAN D. ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE




                                     -4-
Case 6:23-cv-00300-ADA   Document 160   Filed 02/07/25   Page 5 of 16




                EXHIBIT A




                               -5-
    Case 6:23-cv-00300-ADA       Document 160           Filed 02/07/25     Page 6 of 16




Show Name       Chinese Name     Owner                    # of
                                                          Episodes       Registration Status
My Deepest      “Wu Yun Yu       Shanghai Tencent         30             Registered (see Ex. 16)
Dream           Jiao Yue” “      Penguin Film
                乌云遇皎月            Culture Media                           Ep.13; Ep.15; Ep.16;
                ”                Co., Ltd                                Ep.17; Ep.18; Ep.25


Cute            “Na Xiao Zi      Shanghai Tencent         24             Registered (see Ex. 17)
Bodyguard       Bu Ke Ai” “那     Penguin Film
                小子不可爱”           Culture Media                           Ep.11; Ep.12; Ep.13;
                                 Co., Ltd                                Ep.14; Ep.15; Ep.16

Winter Night    “Zai Ni De       Shanghai Tencent         24             Registered (see Ex. 18)
                Dong Ye Li       Penguin Film
                Shan Yao” “在     Culture Media                           Ep.5; Ep.6; Ep.8; Ep.10;
                你的冬夜里            Co., Ltd                                Ep.11; Ep.15
                闪耀”
She and Her     “Ai De Er Ba     Shanghai Tencent         40             Registered (see Ex. 19)
Perfect         Ding Lv” “爱      Penguin Film
Husband         iy,j二八定律”        Culture Media                           Ep.27; Ep.28; Ep.29;
                                 Co., Ltd                                Ep.30; Ep.35; Ep.40

Women Walk      “Wo Men De       Tencent                  36             Registered (see Ex. 20)
the Line        Dang Da Zhi      Technology
                Nian” “我们        (Beijing) Co., Ltd                      Ep.1; Ep.2; Ep.10;
                IYJ 当打之年                                                 Ep.11; Ep.12; Ep.20
                ”
Accidentally    “Yi Bu Xiao      Shanghai Tencent         24             Registered (see Ex. 22)
Meow on You     Xin Miao         Penguin Film
                Shang Ni” “      Culture Media Co.,                      Ep.1; Ep.2; Ep.3; Ep.4;
                一不小心喵            Ltd                                     Ep.5; Ep.6
                上你”
Time and Him are “Shi Guang Yu   Shanghai Tencent         25             Registered (see Ex. 23)
Just Right       Ta Qia Shi      Penguin Film
                 Zheng Hao” “    Culture Media Co.,                      Ep.1; Ep.2; Ep.3; Ep.4;
                 时光与他,恰是         Ltd                                     Ep.5; Ep.6
                 正好”
Will Love in    “Chun Se Ji      Shanghai Tencent         21             Registered (see Ex. 25)
Spring          Qing Ren “春色     Penguin Film Culture
                寄情人 “            Media Co., Ltd                          Ep.1 to Ep.21




                                          -6-
    Case 6:23-cv-00300-ADA       Document 160           Filed 02/07/25      Page 7 of 16




Show Name       Chinese Name     Owner                    # of
                                                          Episodes       Registration Status
Xiao Ri Zi     “Xiao Ri Zi”      Shanghai Tencent         26             Registered (see Ex. 27)
               “小日子”             Penguin Film Culture
                                 Media Co., Ltd                          Ep.1 to Ep.26


Three Body     “San Ti” “三体      Shanghai Tencent         30             Registered (see Ex. 24)
               ”                 Penguin Film Culture
                                 Media Co., Ltd                          Ep.1; Ep.2; Ep.3; Ep.7;
                                                                         Ep.8; Ep.10

The Long Season “Man Chang De Ji Shanghai Tencent         12             Registered (see Ex. 26)
                Jie” (漫长的季节) Penguin Film Culture
                                 Media Co., Ltd;                         Ep. 1; Ep. 2; Ep. 3; Ep.
                                 Tencent Technology                      4; Ep. 6; Ep. 7
                                 (Beijing) Co., Ltd

Lost You       "Chang Xiang      Tencent Technology 39                   Registered (see Ex. 31)
Forever        Si” “长相思“         (Beijing) Co., Ltd.




My Deepest     “Wu Yun Yu Jiao   Shanghai Tencent         30             (Late) Registered (see Ex.
Dream          Yue” “ 乌云遇皎       Penguin Film Culture                    16)
               月”                Media Co., Ltd                          Ep.1; Ep.2; Ep.3; Ep.4;
                                                                         Ep.5


Cute Bodyguard “Na Xiao Zi Bu Shanghai Tencent   24                      (Late) Registered (see
               Ke Ai” “那小子不 Penguin Film Culture                         Ex. 17)
               可爱”            Media Co., Ltd
                                                                         Ep.1; Ep.2; Ep.3; Ep.4;
                                                                         Ep.5

She and Her    “Ai De Er Ba      Shanghai Tencent         40             (Late) Registered (see
Perfect        Ding Lv” “爱       Penguin Film                            Ex. 19) Ep.3; Ep.10;
Husband        iy,j二八定律”         Culture Media Co.,                      Ep.11; Ep.12; Ep.13
                                 Ltd




                                          -7-
    Case 6:23-cv-00300-ADA           Document 160           Filed 02/07/25     Page 8 of 16




Show Name         Chinese Name       Owner                    # of
                                                              Episodes       Registration Status
An Exciting Offer “Ling Ren Xin      Shanghai Tencent         10             (Late) Registered (see
S4                Dong De Offer Di   Penguin Film Culture                    Ex. 21)
                  Si Ji” “令人 心动      Media Co., Ltd
                  的 offer（第四                                                 Ep.1; Ep.2; Ep.3; Ep.4;
                  季）                                                         Ep.5; Ep.6

The Long Season   “Man Chang De Shanghai Tencent              12             Registered (see Ex. 26)
                  Ji Jie” (漫长的季 Penguin Film Culture
                  节)            Media Co., Ltd;                              Ep.5
                                Tencent Technology
                                (Beijing) Co., Ltd

Choice Husband "Ze Jun Ji" (择        Shanghai Tencent         30             (Late) Registered (see
               君记)                   Penguin Film                            Ex. 32)
                                     Culture Media Co.,
                                     Ltd.


Belated First     "Chi Dao De        Shenzhen Tencent         32             (Late) Registered (see
Love              Chu Lian" (迟       Computer System                         Ex. 33)
                  到的初恋)              Co., Ltd.



The Forbidden     “Xia Hua” (夏       Shanghai Tencent         24             (Late) Registered (see
Flower            花)                 Penguin Film                            Ex. 34)
                                     Culture Media Co.,
                                     Ltd.


Romance of a      “Chun Gui      Shanghai Tencent             38             (Late) Registered (see
Twin Flower       Meng Li Ren” ( Penguin Film                                Ex. 35)
                  春闺梦里人)         Culture Media Co.,
                                 Ltd.


The Love You      “Ni Gei Wo De Shanghai Tencent              28             (Late) Registered (see
Give me           Xi Huan”（你 Penguin Film                                    Ex. 36)
                  给我的喜欢） Culture Media Co.,
                                Ltd.




                                              -8-
    Case 6:23-cv-00300-ADA         Document 160         Filed 02/07/25     Page 9 of 16




Show Name        Chinese Name      Owner           # of
                                                   Episodes              Registration Status
Wonderland of    “Le You Yuan” Tencent Technology 40                     Registered (see Ex. 40)
Love             (乐游园 )        (Beijing) Co., Ltd.




A Females       “Guo Zi Jian Lai   Shanghai               30             Unregistered
Student Arrives Le Ge Nv Di Zi”    Tencent
In the Imperial “国子监来了个            Penguin Film
College         女弟子”               Culture Media Co.,
                                   Ltd

A Girl Like Me “Wo Jiu Shi Zhe     Shanghai Tencent       40             Unregistered
               Ban Nv Zi”          Penguin Film
               “我就是这般女             Culture Media Co.,
               子”                  Ltd


Cute            “Cheng Xu Yuan     Shanghai Tencent       30             Unregistered
Programmer      Na Mo Ke Ai”       Penguin Film
                “程序员那么可            Culture Media Co.,
                爱”                 Ltd


Lie to Love     “Liang Yan Xie     Shanghai Tencent       32             Unregistered
                Yi” “良言写意          Penguin Film
                                   Culture Media Co.,
                                   Ltd


Novoland: Pearl “Hu Zhu Fu Ren” Shanghai Tencent          48             Unregistered
Eclipse         “斛珠夫人”          Penguin Film
                                Culture Media Co.,
                                Ltd


Once We Get      “Zhi Shi Jie      Shanghai Tencent       24             Unregistered
Married          Hun De            Penguin Film
                 Guan Xi”          Culture Media Co.,
                 “只是结婚             Ltd
                 的关系”




                                           -9-
   Case 6:23-cv-00300-ADA      Document 160         Filed 02/07/25    Page 10 of 16




Show Name      Chinese Name    Owner                  # of
                                                      Episodes       Registration Status
Soul Land     “Dou Luo Da Lu” Shanghai Tencent        40             Unregistered
              “斗罗大陆           Penguin Film
                              Culture Media Co.,
                              Ltd


The Oath of   “Yu Sheng Qing Shanghai Tencent         32             Unregistered
Love          Duo Zhi Jiao”  Penguin Film
              “余生请多指教” Culture Media Co.,
                             Ltd


The Autumn    “Yan Yu Fu” “    Shanghai Tencent       34             Unregistered
Ballad        嫣语赋”             Penguin Film
                               Culture Media Co.,
                               Ltd


The Untamed   “Chen Qing Ling” Shanghai               50             Unregistered
              “陈情令”            Tencent
                               Penguin Film
                               Culture Media
                               Co., Ltd

When You Be   “Fan Zhuan Ren   Shanghai               26             Unregistered
Me            Sheng”           Tencent
              “反转人生”           Penguin Film
                               Culture Media
                               Co., Ltd

Who Rules the “Qie Shi Tian Shanghai                  40             Unregistered
World         Xia” “且试天下” Tencent Penguin
                            Film Culture Media
                            Co., Ltd


You Are My     “Ni Shi Wo De   Shanghai Tencent       32             Unregistered
Glory          Rong Yao”       Penguin Film
               “你是我的荣耀         Culture Media Co.,
               ”               Ltd




                                       -10-
    Case 6:23-cv-00300-ADA        Document 160         Filed 02/07/25    Page 11 of 16




Show Name         Chinese Name    Owner                  # of
                                                         Episodes       Registration Status
A Dream of       “Meng Hua Lu”    Shanghai Tencent       40             Unregistered
Splendor         “梦华录”            Penguin Film
                                  Culture Media Co.,
                                  Ltd


Heroes           “Shuo Ying       Shanghai Tencent       38             Unregistered
                 Xiong Shui Shi   Penguin Film
                 Ying Xiong”      Culture Media Co.,
                 “说英雄谁是英          Ltd
                 雄”

Perfect World    “Wan Mei Shi     Shanghai Tencent       130            Unregistered
                 Jie”             Penguin Film
                 “完美世界”           Culture Media Co.,
                                  Ltd


Hello, My        “Yu Jian Cui Can Shanghai Tencent       43             Unregistered
Shining Love     De Ni”           Penguin Film
                 “遇见璀璨的你” Culture Media Co.,
                                  Ltd


A Will Eternal   “Yi Nian Yong    Shanghai Tencent       108            Unregistered
                 Heng”            Penguin Film
                 “一念永恒”           Culture Media Co.,
                                  Ltd


Stick to the     “Shi Xiong Qing Shanghai Tencent        40             Unregistered
Script           An Ju Ben Lai” Penguin Film
                 “师兄请按           Culture Media Co.,
                 剧本来”            Ltd


My Poison        “Shuang Luo You Shenzhen Tencent        25             Unregistered
Lover            Shi Jun” “ 霜落 又 Computer System
                 识君”             Co., Ltd




                                          -11-
    Case 6:23-cv-00300-ADA        Document 160      Filed 02/07/25    Page 12 of 16




Show Name        Chinese Name     Owner                  # of
                                                         Episodes    Registration Status
I am the Years     “Wo Shi Sui    Shanghai Tencent       24          Unregistered
you are the Stars Yue Ni Shi      Penguin Film Culture
                   Xing Chen” “   Media Co., Ltd
                   我是岁月你是
                  星辰”

Just Fiancée     “Zhi Shi Wei    Shenzhen Tencent        22          Unregistered
                 Hun Qi De       Computer System
                 Guan Xi”        Co., Ltd
                 ““只
                 是未婚妻的
                 关
If I Never      “Ru Guo Cong Mei Shenzhen Tencent        24          Unregistered
Loved You       Ai Guo Ni”       Computer System
                “如果从没爱过 Co., Ltd
                你”


Chong Zi        “Chong Zi”        Tencent Technology     40          Unregistered
                “重紫”              (Beijing) Co., Ltd




Sword Snow      “Xue Zhong Han    Shanghai Tencent     38            Unregistered
Stride          Dao Xing”         Penguin Film Culture
                “雪中悍刀行”           Media Co., Ltd



Ancient Love    “Qian Gu Jue      Shanghai Tencent     49            Unregistered
Poetry          Chen”             Penguin Film Culture
                “千古玦尘”            Media Co., Ltd



Lost You        “Chang Xiang Shanghai Tencent   3                    Unregistered
Forever S2      Si” 长相思(第二 Penguin Film Culture
                季)           Media Co., Ltd




                                          -12-
   Case 6:23-cv-00300-ADA        Document 160         Filed 02/07/25     Page 13 of 16




Show Name        Chinese Name    Owner                  # of
                                                        Episodes       Registration Status
Love Heals      “Ting Shuo Ni Shanghai Tencent          36             Unregistered (see Ex.
                Xi Huan Wo” 听 Penguin Film Culture                     41)
                说你喜欢我         Media Co., Ltd.



A League of     "Jun Zi Meng"    Shanghai Tencent       29             Unregistered (see Ex.
Nobleman        君子盟              Penguin Film                          42)
                                 Culture Media
                                 Co., Ltd.


Miss Crow With "Wu Ya Xiao Jie   Shanghai Tencent       36             Unregistered (see Ex.
Mr. Lizard     Yu Xi Yi Xian     Penguin Film                          43)
               Sheng" 乌鸦小        Culture Media
               姐与蜥蜴先生            Co., Ltd.


Love Like the   "Xing Han Can    Shanghai Tencent       27             Unregistered (see Ex.
Galaxy          Lan" 星汉灿烂        Penguin Film                          44)
                                 Culture Media
                                 Co., Ltd.


The Queen       "Xi Tong Zhi   Shanghai Tencent     25                 Unregistered (see Ex.
System          Huang Hou Yang Penguin Film Culture                    45)
                Cheng Ji" (系统 Media Co., Ltd.
                之皇后养成记)


Shang Guo Fu    “Shang Guo Fu” Shenzhen Tencent    24                  Unregistered
                (上国赋)          Computer System Co.
                               Ltd



The Love You    “Ni Gei Wo De Xi Shanghai Tencent       28             Unregistered
Give Me         Huan”       (你 Penguin Film
                给我的喜欢)           Culture Media Co.,
                                 Ltd; Tencent
                                 Technology
                                 (Beijing) Co., Ltd




                                         -13-
   Case 6:23-cv-00300-ADA          Document 160       Filed 02/07/25     Page 14 of 16




Show Name        Chinese Name      Owner                  # of
                                                          Episodes     Registration Status
Romance of a     “Chun Gui         Shanghai Tencent       38           Unregistered
Twin Flower      Meng Li Ren”      Penguin Film Culture
                (春闺梦里人)            Media Co., Ltd



Wo De Jiao      “Wo De Jiao Ren    Shenzhen Tencent       24           Unregistered
Ren Di Di       Di Di”(我的鲛人        Computer System
                弟弟)                Co. Ltd



Mi Xun          “Mi Xun”(谜寻)       Shenzhen Tencent       24           Unregistered
                                   Computer System
                                   Co. Ltd



Niang Niang Jin “Niang Niang Jin   Shenzhen Tencent       25           Unregistered
Ri Bu Shang     Ri Bu Shang        Computer System
Chao            Chao”(娘 娘今日        Co. Ltd
                不上朝)


Bai Tuo Le Bie “B ai Tu o Le , Shenzhen Tencent           14           Unregistered
Zhui Wo        B i e Zh ui W o ” Computer System
               ( 拜 托 了 ,别        Co. Ltd
               追我 )


Bodyguard       “Bu Xiang Lian Ai Shenzhen Tencent        22           Unregistered
                De Qian Xiao Jie” Computer System
                ( 不 想 恋 爱         Co. Ltd
                的 千 小 姐
                )

Xia Yi Zhan Ni “Xia Yi Zhan        Shenzhen Tencent       24           Unregistered
De Shi Jie     Ni De Shi           Computer System
               Jie”(下一站你           Co. Ltd
               的世界)




                                           -14-
    Case 6:23-cv-00300-ADA        Document 160         Filed 02/07/25    Page 15 of 16




Show Name        Chinese Name     Owner                  # of
                                                         Episodes       Registration Status
The Forbidden   “Xia Hua”      ( Shanghai Tencent        24             Unregistered
Flower          夏花)              Penguin Film Culture
                                 Media Co., Ltd



Qin Ai De       “Qin Ai De          Shenzhen Tencent     19             Unregistered
Cheng Ke, Ni    C h e n g K e , N i Computer System
Hao             H a o ” ( 亲 爱 的 Co. Ltd
                乘客,你好)


Take My Wife     “Kuai Ba Wo      Shenzhen Tencent       40             Unregistered
Away             Fu Ren Dai       Computer System
                Zou”(快把我夫         Co. Ltd
                人带走)


Please Don’t     “Bai Tuo Le! Shenzhen Tencent           27             Unregistered
Spoil Me         Bie Chong Wo Computer System
(Season 5)       (Di Wu       Co. Ltd
                 Jie)”拜托了!别
                 宠我
                (第五季)
Cai Men Ling    “Cai Men      Shenzhen Tencent           29             Unregistered
                Ling”(彩门令)    Computer System
                              Co. Ltd



Belated First   “Chi Dao De Chu Shenzhen Tencent         32             Unregistered
Love            Lian”(迟到的初 Computer System
                恋)              Co. Ltd



Summer Love     “Xia Ri Bu Yi Ru Shenzhen Tencent        18             Unregistered
                Ai               Computer System
                He”(夏日不宜入 Co. Ltd
                爱河)




                                           -15-
   Case 6:23-cv-00300-ADA      Document 160       Filed 02/07/25    Page 16 of 16




Show Name      Chinese Name    Owner                # of
                                                    Episodes       Registration Status
The Shoufu     “Shou Fu Da Ren Shenzhen Tencent     20             Unregistered
Can Read       You Du Xin      Computer System
Mind           Shu”(首辅大人 Co. Ltd
               有读心术)


Please Don’t    “Bai Tuo Le!   Shenzhen Tencent     24             Unregistered
Spoil Me        Bie Chong Wo   Computer System
(Season 5)      (Di Si         Co. Ltd
                Ji)”(拜托了!
                别宠我
               (第四季)




                                       -16-
